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                                           June 12, 2024

VIA ELECTRONIC FILING

The Honorable Stephanos Bibas
James A. Byrne United States Courthouse
601 Market Street
Philadelphia, PA 19106

        Re:     Thomson Reuters Enterprise Centre GmbH et al. v. ROSS Intelligence Inc.,
                C.A. No. 20-613-SB

Dear Judge Bibas:

      The parties are in the process of negotiating a proposed pre-trial schedule that includes,
among other things, dates for the exchange of exhibits and jury instructions.

        One issue has arisen. Defendant ROSS believes that there should be a filtration hearing
prior to trial that would determine what matters would be submitted to the jury for the purposes
of determining the factual issue of copyright infringement, including originality. A filtration
hearing is necessary because ROSS submits that some of the works in suit are not copyrightable.
This Court’s July 25, 2022 Order recognizes that copyrightability is a question of law. See July
25, 2022 Order at 1 (citing Silvertop Assocs. Inc. v. Kangaroo Mfg. Inc., 931 F.3d 215, 218 (3d
Cir. 2019)).

        Plaintiffs are of the view that this Court already addressed this issue when deciding the
parties’ summary judgment motions and scheduling a jury trial. D.I. 547 at 7–8 (finding that (1)
with respect to the Key Number System, “the jury needs to decide its originality, whether it is in
fact protected, and how far that protection extends,” and (2) there is a “genuine factual dispute
about how original the headnotes are”). As a result, they think such a hearing is unnecessary,
procedurally inappropriate, and will burden the parties and the Court when they should be
preparing for the upcoming trial.

       To raise the issue for resolution of the Court, ROSS requests that the Court set a briefing
schedule on the issue of holding a filtration hearing prior to trial. The parties propose that each
be allowed five pages to brief this issue. While the Plaintiffs reiterate their position that this is
unnecessary and procedurally inappropriate, to the extent a hearing is scheduled, Plaintiffs do not
oppose raising this dispute through the briefing schedule set forth below.
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The parties propose the following schedule:

                  Event                       Proposed Deadline

                  ROSS’s opening brief        Friday, June 21, 2024

                  Plaintiffs’ reply brief     Friday, July 12, 2024



       The parties held a final telephone meet and confer on this matter on June 3, 2024. The
following lawyers were present:

   -   Warrington Parker (Defendant)
   -   Joachim Steinberg (Defendant)
   -   Bindu Palapura (Delaware counsel, Defendant)
   -   Miranda Means (Plaintiffs)
   -   Eric Loverro (Plaintiffs)
   -   Michael Flynn (Delaware counsel, Plaintiffs)




                                                     Respectfully,

                                                     /s/ Bindu A. Palapura

                                                     Bindu A. Palapura

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cc: Counsel of record (via electronic mail)
